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                   IN THE UNITED STATES DISTRICT COURT


                   FOR THE EASTERN DISTRICT OF VIRGINIA

                              NORFOLK DIVISION


UNITED STATES OF AMERICA


      v.                                    Case No. A'- fe K^J^M1
                                            Court Date: February 14, 2013
DAVID G.   YOUNG


                             CRIMINAL INFORMATION


                                  COUNT ONE
                     (Misdemeanor)-Violation No.    1810679

     THE UNITED STATES ATTORNEY CHARGES:


     That on or about December 23, 2012, at Joint Expeditionary Base Little

Creek, Virginia Beach, Virginia, on lands acquired for the use of the United

States and within the special maritime and territorial jurisdiction thereof,

in the Eastern District of Virginia, the defendant, DAVID G. YOUNG, did

knowingly drive a motor vehicle while his driver's license, learner's permit,

or privilege to drive a motor vehicle was suspended or revoked, second

offense, the defendant having been previously convicted of driving while

license revoked in the General District Court for the City of Virginia Beach,

Virginia on April 14, 2011, for an offense committed on February 23, 2011.

      (In violation of Title 18, United States Code, Sections 7 and 13,
assimilating Code of Virginia, Section 46.2-301.)

                                  COUNT TWO
                                 (Misdemeanor)

      THE UNITED STATES ATTORNEY CHARGES:


      That on or about December 23, 2012, at Joint Expeditionary Base Little

Creek, Virginia Beach, Virginia, on lands acquired for the use of the United

States and within the special maritime and territorial jurisdiction thereof,

in the Eastern District of Virginia, the defendant, DAVID G. YOUNG, did

unlawfully drive and operate a motor vehicle during the time in which his

privilege to drive or operate a motor vehicle was restricted, suspended or
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